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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

1. Title of case (name of first party on ach side only) A chury Public Schools Vi: Roreav
DF s Special EAU cation A pjseab, ¢

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local

rule 40.1(a)(1)).
I. 160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.
Xx] TF 110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820°, 840*, 895, 896, 899.
[ ] tll. 120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,

365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560
625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

Now @

4. Has a prior action between the same parties and based on the same claim ever been filed in this cou
YES NO

5. Does the compiaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES LJ NO x]
YES L] NO [J

6. Is this case required to be heard and determined by a district court of three judges PT to title 28 USC §22847

YES NO

7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in De) division? - re Rule 40.1(d)).

If So, is the U.S.A. or an officer, agent or employee of the U.S. a party?

 

YES NO
A. If yes, in which divisi all of the non-governmental ies reside?
Eastern Division RY Central Division Py Western Division []
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

x OJ LI
Eastern Division x! Central Division Western Division

8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,

submit a separate sheet identifying the motions)
vs L] nwo LI

(PLEASE TYPE OR PRINT)

ATTORNEY'S OR PRO SE'S NAME Ja fr y WT). Sa NKE Ly

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(CategoryForm6-2021.wpd )
